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                      U.S. District Court for the Northern Dlstrlct Of llllnols
                                    Attorney Appearance Form


Case Title:The Boiling Point, lnc. v.              Nan         Case Number: 18-cv-3632
           Luo and Fanyuan lnvestment

An appearance is hereby filed by the undersigned as attorney for:
Nan Luo a/k/a Judy Luo and Fanyuan lnvestment Management, LLC

Attorney name (type or print):Joseph K, Nichele

Firm: Broida and Nichele, Ltd.

Street address: 1250 East Diehl Road, Suite 108

City/State/Zip: Naperville, lllinois 60563

Bar lD Number:         6286961                                 Telephone Number: (630) 245'1515
(See item   3   in instructions)

Email Address: lawyers@broida-law.com

Are you acting as lead counsel in this case?                                              Yes Ø         *o
Are you acting as local counsel in this case?                                             Yes Ø         *o

Are you a member of the court's trial                bar?       f,                        Ves           No

lf this case reaches trial, will you act as the trial attorney? f,                        Ves           No

lf this is a criminal case, check your status.                            Retained Counsel
                                                                          Appointed Counsel
                                                                          lf appointed counsel, are You
                                                                               Federal Defender
                                                                               CJA PanelAttorney

ln order to appear before this Court an attorney must either be a member in good standing of this Court's
general Oar ôi Oe granted leave to appear pro hac yrce as provided for by local rules_83,12 through 83,14
i-declare under penalty of perjury that the foregoing is true and correct, Under 28 U,S,C.S1746, this
statêment under perjuiy has the same force and effect as a sworn statement made under oath.

Executed on June 11,2018

Attorney    signature: S/ Joseph K. Nichele
                                   (Use electronic signature if the appearance form is filed electronically,)

                                                                                                    Revlsed 81112015
